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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

KEITH MUMPHERY,

       Plaintiff,
                                                      HON. JANET T. NEFF
v.                                                    Case No. 1:18-cv-576

MICHIGAN STATE UNIVERSITY, et.al.,
     Defendants.



                         STIPULATION AND ORDER TO DISMISS

       NOW COME the above-named parties, by and through their respective attorneys and do

hereby stipulate and agree that this matter be dismissed with prejudice as to all parties and without

costs or attorney fees to any party.

By:__Stuart Bernstein_______________                  By:___Michael Baughman ______

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 Case 1:18-cv-00576-JTN-ESC ECF No. 41 filed 06/21/19 PageID.252 Page 2 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
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KEITH MUMPHERY,

        Plaintiff,
                                                     HON. JANET T. NEFF
v.                                                   Case No. 1:18-cv-576

MICHIGAN STATE UNIVERSITY, et. al.,
     Defendants.


                                       ORDER TO DISMISS

                                PRESENT: HON. JANET T. NEFF
                                 United States District Court Judge

        The parties, having stipulated to the above dismissal of claims and the Court otherwise

being fully advised in the premises;

        IT IS HEREBY ORDERED that the foregoing matter is dismissed with prejudice and

without costs or attorney fees to either party.



                                                     _____________________________
                                                     HON. JANET T. NEFF


Date:
